

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-49,974-06






EX PARTE EDWARD RICHARD MCCLINTON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 8547 IN THE 12TH  DISTRICT COURT


FROM MADISON COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated assault
on a peace officer and sentenced to three years' imprisonment. He did not appeal his conviction.

	Applicant contends that his sentence has discharged and that he is being illegally confined.
Applicant has alleged facts that, if true, might entitle him to relief. In these circumstances, additional
facts are needed. As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1997),
the trial court is the appropriate forum for findings of fact.

	The trial court shall order the Texas Department of Criminal  Justice's Office of the General
Counsel to file an affidavit stating whether Applicant's sentence has discharged and, if not, why it
has not discharged. The Office of General Counsel shall also state how Applicant's discharge date
is being calculated. The trial court may also order depositions, interrogatories or a hearing. 

	Applicant appears to be represented by counsel. If he is not and the trial court elects to hold
a hearing, it shall determine whether Applicant is indigent. If Applicant is indigent and wishes to be
represented by counsel, the trial court shall appoint an attorney to represent him at the hearing. Tex.
C ode Crim. Proc. art. 26.04.

	The trial court shall make findings of fact as to whether Applicant's sentence has discharged
and he is being illegally confined. The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 60 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 90 days of the date of this order. Any extensions of time shall be
obtained from this Court. 

Filed: July 1, 2009

Do not publish


